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Plaintitf
vs.
cR. No. 04-20474-[)
wALTER vowELL
Defendant.

 

ORDER ON CONT|NUANCE AND SF’ECIFYING PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on April 19, 2005. At that time, counsel forthe
defendant requested a continuance of the May 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to June 6, 2005 with a @ggg
date of Thursdayl May19, 2005l at 9:00 a.m., in Courtroorn 3, 9th Floor of the Federal
Buiiding, l\/lemphis, TN.

The period from April 19, 2005 through June 17, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

|T lS SO ORDERED this §§ day of April, 2005.

B RN|CE B. NALD
UN|TED STATES DlSTR|CT JUDGE

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UNITED sATE DSTIIC CoURT - WESTERN DISTRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:04-CR-20474 Was distributed by faX, mail, or direct printing on
April 29, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

